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z IN THE ZIST JUDICIAL CIRCUIT COUR'I`, S'I`. LOUIS COUNTY, MISSOURI

  

 

 

 

 

 

 

 

 

 

 

Judge or Division: Case Number: l4SL-CC01419
THOMASJ PREBIL -_. ~-._` .,_ ~ .~_
Plaintif`f/Petitioner: Plaumrt's/Petitioner’s Attomey/Address:
MICHAEL c leMER Dc Pc MAX GEORGE MARGUL!S
28 OLD BELLE MONTE ROAD

vs. CHESTERFlELD, MO 63017
Defendant/Respondent: Court Address:
mTERGRATED PAlN MANAGEMENT sc §/'9?016%\;1§ OC}<IJSJ§:¥E;YI&C\)/LéRT BUlLDlNG
}`Z"“"° °f S‘"" cLAYToN. Mo 63105
(_,C injunction (Date Ftle Stamp)

 

 

Summons for Personal Service Outside the State of Missouri
(Except Attachment Action)
rim stare or Missourr m mTERGRATEo mm MANAGEMENT sc

 

Allas:
200 W ADAMS ST SERVE: WlLLlAM G DALUGA JR
STE 3500 REGISTERED AGENT
CHlCAGO, ll, 60606

C()URTSE

L op ._ You are summoned to appear before this court and to file your pleading to the petition, copy of which is
_ attached, and to serve a copy of your pleading upon the attorney for the Plaintiff/Petitioner at the above
` address all within 30 days after service of this summons upon you, exclusive of the day of service. if you fail to
file your pleading, judgment by default will be taken against you for the relief demanded in this action.
SPECIAL NEEI)S: lf you have special needs addressed by the Americans With Disabilities Act, please
notify the Office of the Circuit Clerk at 314-615-8029, FAX 314'615»8739 or TTY at 314»615~4567, at least three
business days in advance of the court proceeding.

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.S‘T. I.(NIIS C()IlNTY

 

lé.MAY-ZO 14
Date C erk
Furthcr lnformation:
CNM
Officer’s or Server’s Affidavit of Service

l certify that:
i. l am authorized to serve process in civil actions within the state or territory where the above summons was served.
2. My official title is of County, (state).

 

3. l have served the above summons by: (check one)

m delivering a copy of the summons and a copy of the petition to the Dcfendant/Respondent.

I:i leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
, a person of the Defendant‘s/Respondent’s family over the age of l5 years.
m (for service on a corporation) delivering a copy of the summons and a copy of the petition to

 

 

 

 

 

 

 

(name) (title).
L'_l other (d¢s¢rib¢) .
Served at (address)
in County, (state), on (date) at (time).
Printed Name of Sheriff or Server Signature of Sheriff or Server
Subscribed and Sworn To me before this (day) (month) (year)

l am: (check one) l:] the clerk of the court of which affiant is an officer.
m the judge of the court of` which affiant is an ofi`icer.
(Seal) m authorized to administer oaths in the state in which the affiant served the above summons.
(use for out-of-state officer)
m authorized to administer oaths. (usc for court-appointed server)

 

 

Signaturc and 'i`itle

  
   

  
  

Service Fees, if applicable

EXH|B|T

 

 

 

 

Sumrnons $
Non Est $ 14
Mileage $ ( miles @ $ per mi|e) 'r g l d
'!`otal $ j s
See the following page for directions to clerk and to officer making return on service of summons.'
OSCA (7-04) SM60 Far Courl U:e 0nly: Document lD# l4-SMOS-458 l (MSL-CC01419) Rules 54.06, 54.07, 54. l4, 54.20;

506.500, 506.5]0 RSMo

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Directions to Clerk

Personal service outside the State of Missouri is permitted only upon certain conditions set forth in Rule 54. The clerk
should insert in the summons the names of only the Defendant/Respondent or Defendants/Respondents who are to be
personally served by the officer to whom the summons is delivered. The summons should be signed by the clerk or deputy
clerk under the seal\-'>fthe court and a copy of the summons and a copy of the petition for each Defendant/Respondent should
be mailed along with the original summons to the officer who is to make service. The copy of the summons may be a carbon
or other copy and should be signed and sealed in the same manner as the original but it is unnecessary to certify that the copy
is a true copy. The copy of the motion may be a carbon or other copy and should be securely attached to the copy of the
summons but need not be certified a true copy. If the Plaintiff’s/Petitioner has no attomey, the Plaintiff’s/Petitioner’s address
and telephone number should be stated in the appropriate square on the summons. This form is not for use in attachment
actions. (See Rule 54.06, 54.07 and 54.14)

 

 

Directions to Officer Making Return on Service of Summons

A copy of the summons and a copy of the motion must be served on each Defendant/Respondent. if any
Defendant/Respondent refuses to receive the copy of the summons and motion when offered, the return shall be prepared
accordingly so as to show the offer of the officer to deliver the summons and motion and the Defendant’s/Respondent’s refusal
to receive the same.

Service shall be made: (l) On lndividual. On an individual, including an infant or incompetent person not having a legally
appointed guardian, by delivering a copy of the summons and motion to the individual personally or by leaving a copy of the
summons and motion at the individual’s dwelling house or usual place of abode with some person of the family over 15 years
of age, or by delivering a copy of the summons and petition to an agent authorized by appointment or required by law to receive
service of process; (2) On Guardian. On an infant or incompetent person who has a legally appointed guardian, by delivering a
copy of the summons and motion to the guardian personally; (3) On Corporation, Parmership or Other Unincorporated
Association. On a corporation, partnership or unincorporated association, by delivering a copy of the summons and motion to
an officer, partner, or managing or general agent, or by leaving the copies at any business office of the Defendant/Respondent
with the person having charge thereof or by delivering copies to its registered agent or to any other agent authorized by
appointment or required by law to receive service of process; (4) On Public or Quasi~Public Corporation or Body. Upon a
public, municipal, governmental or quasi-public corporation or body in the case of a county, to the mayor or city clerk or city
attorney in the case of a city, to the chief executive officer in the case of any public, municipal, govemmental, or quasi-public
corporation or body or to any person otherwise lawfully so designated

Service may be made by anofficer or deputy authorized by law to serve process in civil actions within the state or territory
where such service is made.

Service may be made in any state or territory of the United States. lf served in a territory, substitute the word “territory”
for the word “state.”

The office making the service must swear an affidavit before the clerk, deputy clerk, or judge of the court of which the
person is an officer or other person authorized to administer oaths. This affidavit must state the time, place, and manner of
service, the official character of the affiant, and the affiant’s authority to serve process in civil actions within the state or
territory where service is made.

Service must not be made less than ten days nor more than 30 days from the date the Defendant/Respondent is to appear in
court. The return should be made promptly and in any event so that it will reach the Missouri Court within 30 days after
service.

 

 

OSCA (7~04) SM6O For Courl Use Only: Document lD# l4-SMOS-458 2 (l‘iSL-CC01419) Rulc$ 54.06, 54.07, 54.14, 54
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APR 90 2014
STATE OF MISSOURI ) f 5 _JUAN M‘ giLMER
) vinson oitait.ti'.muia county
ST. LOUIS COUNTY )
IN THE CIRCUIT COURT OF THE ST. LOUIS COUNTY
STATE OF MISSOURI
MI_CHAEL C. ZIMMER, D.C., P.C., individually and
v on behalf of all others similarly~situated, Cause No. §§ §§ l eli § D§ L\ iq `
: .“?"
Plaintiff, Division
INTEGRATED PAIN MANAGEMENT, _S.C., PROCESS SERVER

Serve: William G. Daluga, lr.,
Registered Agent
200 `W Adanis St, Ste 3500

 

 

 

 

Chicago, lL 60606
Cook County
Defendant.
CLASS ACT.ION PETI'I`ION

 

Plaintiff, MlCHAEL C. ZIl\/Il\/IER, D.C., P.C. (“Plaintiff’), brings this action on behalf of
itself and all others similarly situated, through its attorneys, and except as to those allegations
pertaining to Plaintiff or its attorneys, which allegations are based upon personal knowledge,
alleges the following upon information and belief against Defendant, lNTEGRATED PAIN
MANAGEMENT, S.C. doing business as Headache Control Clinic (“Dei`endant”):

PRELIMINARY STATEMENT

,l. This case challenges Dei`endant’$ practice of sending unsolicited facsimile

advertisements

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2. The federal Telephone Consum'er Prot‘ection Act, 47 USC § 227, prohibits a person
or entity from sending or having an agent send fax advertisements without the recipient’s prior
express invitation or permission (“advertising faxes” or “unsolicited faxes”) and without a proper
opt out notice. The TCPA provides a private right of action and provides statutory damages of
$500 per violation.

3. Unsolicited faxes damage their recipients. An advertising fax recipient loses the
use of its fax machine, paper, and ink toner. An unsolicited fax wastes the recipient’s valuable
time that would have been spent on something else. An advertising fax interrupts the recipient’s
privacy. Unsolicited faxes prevent fax machines from receiving authorized faxes, prevent their use
for authorized outgoing faxes, cause undue wear and tear on the recipients’ fax machines, and
require additional labor to attempt to discern the source and purpose of the unsolicited message.
An advertising fax consumes a portion of the limited capacity of the telecommunications
infrastructure serving the victims of advertising faxing.

4. On behalf of itself and all others similarly situated, Plaintiff brings this case as a
class action asserting claims against Defendant under the TCPA, the common law of conversion

and Missouri consumer and fraud and deceptive business practices act Chapter 407.

5. Plaintiff seeks an award of statutory damages for each violation of the TCPA.
JURISDICTION AND PARTIES
6. This court has personal jurisdiction over Defendant because Defendant transacts

business within this state, have made contracts within this state, and/or have committed tortious

acts within this state and otherwise have sufficient minimum contacts with the State of Missouri.

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7. Plaintiff MICHAEL C. ZIMMER,* D.C., P.C., is a Missouri professional
corporation with its principal place of business in Missouri.
8. On information and belief, Defendant, INTEGRATED PAIN MANAGEMENT,

S.C. is a corporation with its principal place of business in Cook County, Illinois and doing

 

business as Headache Control Clinic.
RELEVAN'I' FACTS

9. On or about the dates of July 11, 2012 and September 24, 2012, Defendant sent 2
unsolicited facsimiles to Plaintiff in St. Louis County, Missouri. A true and correct copy of the
facsimiles are attached as Exhibits A - B.

10. The transmission sent to Plaintiff on or about July 11, 2012 and September 24, 2012
constitutes material advertising the commercial availability of any property, goods or services.

11. On information and belief, Defendant has sent other facsimile transmissions of
material advertising the commercial availability of property, goods, or services to many other
persons as part of a plan to broadcast fax advertisements of Which Exhibits l - 2 are examples

12. Defendant approved, authorized and participated in the scheme to broadcast fax
advertisement by (a) directing a list to be purchased or assembled; (b) directing and supervising
employees or third parties to send the faxes; (c) creating and approving the form of fax to be sent;
and (d) determining the number and frequency of the facsimile transmissions

13. Defendant created or made Exhibits A - B and the other facsimile advertisements,

which Defendant distributed to Plaintiff and the other members of the class.

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14. Exhibits A - B and the other facsimile advertisements are a part of Defendant’s
work or operations to market Defendant’s goods or services which were performed by Defendant
and on behalf of Defendant.

15. Exhibits A - B and the other facsimile advertisements constitute material furnished

 

in connection with Defendant’s work or operations

16. The transmissions of facsimile advertisements, including Exhibits A - B, to Plaintiff
did not contain a notice that states that the recipient may make a request to the sender of the
advertisement not to Send any future advertisements to a telephone facsimile machine or machines
and that failure to comply, within 30 days, with such a request meeting the requirements under
paragraph 47 C.F.R. 64.1200(a)(3)(v) of this section is unlawful

17. 'I`he transmissions of facsimile advertisements, including Exhibits A - B, to Plaintiff
did not contain a notice that complied with the provisions of 47 U.S.C. § 227(b)(1)(C) and/or 47
C.F.R. 64.1200(a)(3).

18. The transmissions of facsimile advertisements, including Exhibits A - B, to Plaintiff
was required to contain a notice that complied with the provisions of 47 U.S.C. § 227(b)(1)(C)
and/or 47 C.F.R. 64.1200(a)(3).

19. On information and belief, Defendant sent multiple facsimile advertisements to
Plaintiff and members of the proposed classes throughout the time period covered by the class
definitions

20. On information and belief, Defendant faxed the same and other facsimile
advertisements to the members of the proposed classes in Missouri and throughout the United

States without first obtaining the recipients’ prior express permission or invitation.

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21. There is no reasonable means ‘for Plaintiff (or any other class member) to avoid
receiving unlawful faxes. Fax machines are left on and ready to receive the urgent
communications their owners desire to receive.

22. Defendant knew or should have known that: (a) facsimile advertisements,

 

including Exhibits A - B, were advertisements; (b) Plaintiff and the other members of the class had
not given their prior permission or invitation to receive facsimile advertisements; (c) No
established business relationship existed with Plaintiff and the other members of the class; and (d)
Defendant did not display a proper opt out notice.

23. Defendant engaged in the transmissions of facsimile advertisements, including
Exhibits A - B, believing such transmissions were legal based on Defendant’s own understanding
of the law and/or based on the representations of others on which Defendant reasonably relied.

24. Defendant did not intend to send transmissions of facsimile advertisements
including Exhibits A - B, to any person Where such transmission was not authorized by law or by
the recipient, and to the extent that any transmissions of facsimile advertisement was sent to any
person and such transmission was not authorized by law or by the recipient, such transmission was
made based on either Defendant’s own understanding of the law and/or based on the
representations of others on which Defendant reasonably relied.

25. Defendant failed to correctly determine the legal restrictions on the use of facsimile
transmissions and the application of those restrictions to the transmission of facsimile
advertisements, including Exhibits A - B, both to others in general, and specifically to Plaintiff.

26. The transmissions of facsimile advertisements, including Exhibits A - B, to Plaintiff

and other members of the class caused destruction of Plaintiffs property,

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27. The transmissions of facsimile advertisements including Exhibits A - B to Plaintiff
and other members of the class interfered with Plaintiffs and other members of the class exclusive
use of their property,

28. The transmissions of facsimile advertisements, including Exhibits A - B, to Plaintiff

 

and other members of the class interfered with Plaintiff‘s and other members of the class business

and/or personal communications

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TELEPHONE coNSUMER PRoTECTIoN ACT. 47 U.s.c. szzl

29. Plaintiff incorporates the preceding paragraphs as though fully set forth herein.
30. Plaintiff brings Count I pursuant to the Telephone Consumer Protection Act, 47
U.S.C. § 227, on behalf of the following class of persons:

All persons who (1) on or after four years prior to the filing of this action, (2)
were sent by or on behalf of Defendant any telephone facsimile transmissions
of material making known the commercial existence of, or making
qualitative statements regarding any property, goods, or services (3) with
respect to whom Defendant cannot provide evidence of prior express
permission or invitation for the sending of such faxes, (4) with whom
Defendant does not have an established business relationship or (5) which
did not display a proper opt out notice.

31. A class action is warranted because:
a. On information and belief, the class includes more than forty persons and is
so numerous that joinder of all members is impracticable
b. There are questions of fact or law common to the class predominating over
questions affecting only individual class members, including without limitation:

i. Whether Defendant engaged in a pattern of sending unsolicited fax

advertisements;

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ii. Whether Exhibit's A - B and other faxes transmitted by or on behalf
of Defendant contain material advertising the commercial availability of any
property, goods or services;

iii. Whether Defendant’s facsimiles advertised the commercial

 

availability of property, goods, or services;

iv. The manner and method Defendant used to compile or obtain the list
of fax numbers to which they sent Exhibits A - B and other unsolicited
faxed advertisements;

v. Whether Defendant faxed advertisements without first obtaining the
recipients’ prior express permission or invitation;

vi. Whether Defendant violated the provisions of 47 USC § 227;

vii. Whether Plaintiff and the other class members are entitled to
statutory damages;

viii. Whether Defendant knowingly violated the provisions of 47 USC §
227;

ix. Whether Defendant should be enjoined from faxing advertisements
in the future;

x. Whether the Court should award trebled damages; and

xi. Whether Exhibits A - B and the other fax advertisements sent by or
on behalf of Defendant displayed the proper opt out notice required by 64

C.F.R. 1200.

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32. Plaintiff will fairly and adequately protect the interests of the other class members
Plaintist counsel are experienced in handling class actions and claims involving unsolicited
advertising faxes. Neither Plaintiff nor Plaintiff’s counsel has any interests adverse or in conflict
with the absent class members

33. A class action is an appropriate method for adjudicating this controversy fairly and
efficiently The interest of each individual class member in controlling the prosecution of separate
claims is small and individual actions are not economically feasible.

34. The TCPA prohibits the “use of any telephone facsimile machine, computer or
other device to send an unsolicited advertisement to a telephone facsimile machine....” 47 U.S.C.
§ 227(b)(l).

35. The TCPA defines “unsolicited advertisement,” as “any material advertising the
commercial availability or quality of any property, goods, or services which is transmitted to any
person without that person’s express invitation or permission.” 47 U.S.C. § 227(a)(4).

36. The TCPA provides:

Private right of action. A person may, if otherwise permitted by the laws or
rules of court of a state, bring in an appropriate court of that state:

(A) An action based on a violation of this subsection or the regulations
prescribed under this subsection to enjoin such violation,

(B) An action to recover for actual monetary loss from such a violation,
or to receive $500 in damages for each such violation, whichever is greater,
or

(C) Both such actions

37. The Court, in its discretion, may treble the statutory damages if the violation was

knowing 47 U.s.C. § 227.

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38. The TCPA is a strict liability statute arfd the Defendant are liable to Plaintiff and the
other class members even if their actions were only negligent
39. Defendant’s actions caused damages to Plaintiff and the other class members

Receiving Defendant’s advertising faxes caused the recipients to lose paper and toner consumed in

 

the printing of Defendant’s faxes. Moreover, Defendant’s actions interfered with Plaintiff"s use of
its fax machine and telephone line connected to that fax machine. Defendant’s faxes cost Plaintiff
time, as Plaintiff and/or its employees wasted their time receiving, reviewing and routing
Defendant’s unlawiiil faxes. That time otherwise would have been spent on Plaintiff's business
activities Finally, Defendant’s faxes unlawfully interrupted Plaintifl"s and the other class
members’ privacy interests in being left alone.

40. Defendant did not intend to cause damage to Plaintiff and the other class members
did not intend to violate their privacy, and did not intend to interfere with recipients’ fax machines
or consume the recipients’ valuable time with Defendant’s advertisements

41. If the court finds that Defendant knowingly violated this subsection or the
regulations prescribed under this subsection, the court may, in its discretion, increase the amount
of the award to an amount equal to not more than three times the amount available under
subparagraph (B) of this paragraph 47 U.S.C. § 227(b)(3).

42. Defendant knew or should have known that: (A) Plaintiff and the other class
members had not given express permission or invitation for Defendant or anyone else to fax
advertisements about Defendant’s goods or services (B) Defendant did not have an established

business relationship with Plaintiff and the other members of the class (C) Exhibits A - B and the

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other facsimile advertisements were advertisements 'and (D) Exhibits A - B and the other facsimile
advertisements did not display the proper opt out notice.
43. Defendant violated 47 U.S.C. § 227 et seq. by transmitting Exhibits A - B and the

other facsimile advertisements hereto to Plaintiff and the other members of the class without

 

obtaining their prior express permission or invitation and not displaying the proper opt out notice
required by 64 C.F.R. 1200.

44. Defendant knew or should have known that: (a) documents Exhibits A - B and the
other facsimile advertisements were advertisements (b) Defendant did not obtain prior permission
or invitation to send facsimile advertisements including Exhibits A - B; (c) Defendant did not
have an established business relationship with Plaintiff or the other members of the class and (d)
Exhibits A - B and the other facsimile advertisements did not display a proper opt out notice.

45. Defendant engaged in the transmissions of documents Exhibits A - B and the other
facsimile advertisements believing such transmissions were legal based on Defendant’s own
understanding of the law and/or based on the representations of others on which Defendant
reasonably relied.

46. Defendant did not intend to send transmissions of documents Exhibits A - B and the
other facsimile advertisements to any person where such transmission was not authorized by law
or by the recipient, and to the extent that any transmissions of documents Exhibits A - B and the
other facsimile advertisements were sent to any person and such transmission was not authorized
by law or by the recipient, such transmission Was made based on either Defendant’s own
understanding of the law and/or based on the representations of others on which Defendant

reasonably relied.

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47. Defendant failed to correctly determine the legal restrictions on the use of facsimile
transmissions and the application of those restrictions to the transmission of documents Exhibits A
- B and the other facsimile advertisements both to others in general, and specifically to Plaintiff.

48. Defendant’s actions caused damages to Plaintiff and the other class members

 

because their receipt of Defendant’s unsolicited fax advertisements caused them to lose paper and
toner consumed as a result. Defendant’s actions prevented Plaintiff’s fax machine f`rom being used
for Plaintiff’s business purposes during the time Defendant were using PlaintifPs fax machine for
Defendant’s unauthorized purpose. Defendant’s actions also cost Plaintiff employee time, as
Plaintiff’s employees used their time receiving, routing and reviewing Defendant’s unauthorized
faxes and that time otherwise would have been spent on Plaintiff’s business activities Finally, the
injury and property damage sustained by Plaintiff and the other members of the class occurred
outside of Defendant’s premises Pursuant to law, Plaintiff, and each class member, instead may
recover $500 for each violation of the TCPA.

WHEREFORE, Plaintiff, MICHAEL C. ZIMMER, D.C., P.C., individually and on behalf
of all others similarly situated, demand judgment in its favor and against Defendant,
[NTEGRATED PAIN MANAGEMENT, S.C., as follows:

A. That the Court adjudge and decree that the present case may be properly maintained
as a class action, appoint Plaintiff as the representative of the class and appoint Plaintiff’s counsel
as counsel for the class;

B. That the Court award between $500.00 and $1,500.00 in damages for each violation

of the TCPA;

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C. That the Court enter an injunction prohibiting the Defendant from engaging in the
statutory violations at issue in this action; and

D. That the Court award costs and such liirther relief as the Court may deem just and
proper.

E. That the Court award pre-judgment and post-judgment interest at the statutory rate
of 9%.

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49. Plaintiff incorporates Paragraphs 3 and 4, 9, 12 - 15, 19 - 21 and 23 - 28 as for its
paragraph 49.
50. ln accordance with Mo. S. Ct. Rule 52.08, Plaintiff brings Count II for conversion
under the common law for the following class of persons:
All persons who on or after five years prior to the filing of this action, were
sent telephone facsimile messages by or on behalf of Defendant with respect
to whom Defendant cannot provide evidence of prior express permission or
invitation `
51. A class action is proper in that:
a. On information and belief the class is so numerous that joinder of all
members is impracticable
b. There are questions of fact or law common to the class predominating over
all questions affecting only individual class members including:

i. Whether Defendant engaged in a pattern of sending unsolicited

faxes;

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ii. Whether Defendant sent faxes without obtaining the recipients’ prior
express permission or invitation of the faxes;
iii. The manner and method Defendant used to compile or obtain the list

of fax numbers to which it sent Exhibits A - B and other unsolicited faxes;

 

iv. Whether Defendant committed the tort of conversion; and
v. Whether Plaintiff and the other class members are entitled to recover
actual damages and other appropriate relief.

52. Plaintiff will fairly and adequately protect the interests of the other class members
Plaintiff has retained counsel who is experienced in handling class actions and claims involving
unlawful business practices Neither Plaintiff nor Plaintiff"s counsel have any interests adverse or
in conflict with the class

53. A class action is an appropriate method for adjudicating this controversy fairly and
efficiently The interest of the individual class members in individually controlling the prosecution
of separate claims is small and individual actions are not economically feasible.

54. By sending Plaintiff and the other class members unsolicited faxes, Defendant
improperly and unlawfully converted their fax machines toner and paper to its own use.
Defendant also converted Plaintist employees’ time to Defendant’s own use.

55. Immediately prior to the sending of the unsolicited faxes, Plaintiff, and the other
class members owned an unqualified and immediate right to possession of their fax machine,

paper, toner, and employee time.

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56. By sending the unsolicited faxes, Defendant permanently misappropriated the class
members’ fax machines toner, paper, and employee time to Defendant’s own use. Such
misappropriation was wrongful and without authorization

57. Defendant knew or should have known that its misappropriation of paper, toner,

 

and employee time was wrongful and without authorization.

58. Plaintiff and the other class members were deprived of the use of the fax machines
paper, toner, and employee time, which could no longer be used for any other purpose. Plaintiff
and each class member thereby suffered damages as a result of the sending of unsolicited fax
advertisements from Defendant.

59. Each of Defendant’s unsolicited faxes effectively stole Plaintiff’s employees’ time
because persons employed by Plaintiff were involved in receiving, routing, and reviewing
Defendant’s unlawful faxes. Defendant knew or should have known employees’ time is valuable
to Plaintiff.

60. Defendant’s actions caused damages to Plaintiff and the other members of the class
because their receipt of Defendant’s unsolicited faxes caused them to lose paper and toner as a
result. Defendant’s actions prevented Plaintiff’s fax machines from being used for Plaintiff’s
business purposes during the time Defendant Was using/Plaintiff’s fax machines for Defendant’s
unlawful purpose. Defendant’s actions also cost Plaintiff employee time, as Plaintiff’s employees
used their time receiving, routing, and reviewing Defendant’s unlawful faxes, and that time

otherwise would have been spent on Plaintiffs business activities

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WHEREFORE, Plaintiff, MICHAEL C. ZIMMER, D.C., P.C., individually and on behalf
of all others similarly situated, demand judgment in its favor and against Defendant,
INTEGRATED PAIN MANAGEMENT, S.C., as follows:

A. That the Court adjudge and decree that the present case may be properly maintained
as a class action, appoint Plaintiff as the representative of the class and appoint Plaintiff s counsel
as counsel for the class;

B. That the Court award appropriate damages;

C. That the Court award costs of suit; and

D. Awarding such further relief as the Court may deem just and proper.

COUNT III
MISSOURI CONSUMER FRAUD AND DECEPTIVE BUSINESS PRACTICES ACT

Chapter 407

 

61. Plaintiff incorporates Paragraphs 3 and 4, 9, 12, 13 - 15, 19 - 21 and 23 - 28 as for
its paragraph 61 . fer
62. In accordance with Chapter 407, Plaintiff, on behalf of the following class of
persons bring Count III for Defendant’s unfair practice of sending unsolicited and unlawful fax
advertisements
All persons who on or after four years prior to the filing of this action, were
sent telephone facsimile messages by or on behalf of Defendant with respect
to whom Defendant cannot provide evidence of prior express permission or
invitation.
63. A class action is proper in that:
a. On information and belief the class consists of over 40 persons in Missouri

and throughout the United States and is so numerous that joinder of all members is

impracticable

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b. There are questions of fa‘ct or law common to the class predominating over

all questions affecting only individual class members including:

 

i. Whether Defendant engaged in a pattern of sending unsolicited
faxes;
ii. The manner and method Defendant used to compile or obtain the list

of fax numbers to which it sent Exhibits A - B and other unsolicited faxes;
iii. Whether Defendant’s practice of sending unsolicited faxes violates
Missouri public policy;
iv. Whether Defendant’s practice of sending unsolicited faxes is an
unfair practice under the Missouri Merchandising Practices Act (MMPA),
Chapter 407 RSMO; and
v. Whether Defendant should be enjoined from sending unsolicited fax
advertising in the future
64. Plaintiff will fairly and adequately protect the interests of the other class members
Plaintiff has retained counsel who are experienced in handling class actions and claims involving
lawful business practices Neither Plaintiff nor Plaintiff’s counsel have any interests adverse or in
conflict with the class
65. A class action is an appropriate method for adjudicating this controversy fairly and
efiiciently, The interest of the individual class members in individually controlling the prosecution
of separate claims is small and individual actions are not economically feasible
66. Defendant’s unsolicited fax practice is an unfair practice, because it violates public

policy, and because it forced Plaintiff and the other class members to incur expense without any

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consideration in retum. Defendant’s practice effectively forced Plaintiff and the other class
members to pay for Defendant’s advertising campaign.
67. Defendant violated the unfairness predicate of the Act by engaging in an

unscrupulous business practice and by violating Missouri statutory public policy, which public

 

policy violations in the aggregate caused substantial injury to hundreds of persons

68. Defendant’s misconduct caused damages to Plaintiff and the other members of the
class including the loss of paper, toner, ink, use of their facsimile machines and use of their
employees’ time,

69. Defendant’s actions caused damages to Plaintiff and the other class members
because their receipt of Defendant’s unsolicited faxes caused them to lose paper and toner
consumed as a result. Defendant’s actions prevented Plaintiff’s fax machine from being used for
Plaintiffs business purposes during the time Defendant were using Plaintiffs fax machine for
Defendant’s unlawful purpose Defendant’s actions also cost Plaintiff employee time, as
Plaintiff’s employees used their time receiving, routing, and reviewing Defendant’s unlawful faxes
and that time otherwise would have been spent on Plaintiff’s business activities

WHEREFORE, Plaintiff, MICHAEL C. ZIMMER, D.C., P.C., individually and on behalf
of all others similarly situated, demand judgment in its favor and against Defendant,
INTEGRATED PAIN MANAGEMENT, S.C., as follows:

A. That the Court adjudge and decree that the present case may be properly maintained
as a class action, appoint Plaintiff as the class representative, and appoint Plaintiff’s counsel as
counsel for the class;

B. That the Court award damages to Plaintiff and the other class members

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C. That the Court award treble damages to Plaintiff and the other class members for
knowing violations of the TCPA;
D. That the Court declare that Defendant’s conduct violated the TCPA and that this

action is just and proper;

 

E. That the Court award damages for conversion of the plaintiffs and the class for
violation of their rights;
F. That the Court award damages and attorney fees for violation of Chapter 407;

G. That the Court award attorney fees and costs;

H. That the Court award all expenses incurred in preparing and prosecuting these
claims;
I. That the Court enter an injunction prohibiting Defendant from sending faxed

advertisements and

J. Awarding such further relief as the Court may deem just and proper.

Respectfully submitted,

% 71 /%r£’

Max G. Margulis, #221325
MARGULIS LAW GROUP
28 Old Belle Monte Rd.
Chesterfield, MO 63017
P: (636) 536-7022
F: (636) 536-6652
E-l\/Iail: MaxMar ulis Mar ulisLaw.com
A ttorneys for Plainti]j”

 

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Of Counsel

Brian J. Wanca

ANDERSON + WANCA

3701 Algonquin Road, Suite 760
Rolling Meadows, IL 60008
Phone: (847) 368-1500

Fax: (847) 368-1501

 

E-Mail: bwanca@andersonwanca.com

 

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FROM: 800~391~6688 TO: 13142913668

Headache .'

Control
Clinic '

 

`Your FREE Practice Consultants

With extensive knowledge of head pain
management Headache Control Clinic will
help You improve the headache treatment
at Ycur clinic, grow Your practice and
significantly increase Your bottom
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We will answer all Your questions and
provide You with practice protocol and
FREE online training

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FREE Ceristtltntion l
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The New Headache Treatment

This revolutionary headache treatment
protocol combines physical therapy and
sphenopalatine ganglion nerve block
utilizing a new approved device that
provides easy access for this nerve block

The procedure is fully reimbursed by
Medicare and all PPO_insurance plans
with each nerve block being
reimbursable

TXBGO®

The Tx360 is a nasal applicator device
that aids the physician when applying
fluid medication The device allows easy,
safe and instant access to the uppermost
area of the nasal pathway. fn particular
it allows the physician to easily reach the
Sphenopalatine foremen which is
essential when performing a
Sphenopalatine ganglion nerve block.

Www.HeadacheControlC]inic.eom

Schedule Your FREE Consultation:

1-800- 990-1415

2265.¥\1. Lincoln_Ave. ` 244 E.'Roosevelt Rd. 5137 N. Broadway Ave. 1051 Essington Rd. #140

 

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Joliet, H_ 60431

www.HeadacheControlClinic.co§m

To opt our of our tax list, call 866 599 1150. The recipient may request that the sender
will not send future taxes and failure to comply with your request within 30 days is

unlawful.

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Headache

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Your FREE Practlce Consultants

,With,extensive knowledge of head pain
management, Hcadache Control Clinic will
help You improve the headache treatment
at Your clinic, grow Your practice and
sigm'jicam‘ly increase Your bottom
line, with minimal ejj”@rz‘.

We Will answer all Your questions and
provide You with practice protocol and
FRBE onlinc training

 

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protocol combines physical therapy and
sphenopala`tine ganglion nerve block
utilizing a new approved device that
provides easy access for this nerve blocl<.

The procedure is fully reimbursed by
Medicas‘c and all PPO insurance plans,
with each nerve block being
reimbursable

TX360®

The Tx360 is a nasal applicator device
that aids the physician when applying
fluid medication The device allows easy,
safe and instant access to the uppermost
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Sphenopalatine foremen which is
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'l`o opt out of our fox list, call 866 599 1150. The recipient may request that the sender
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STATE OF l\/.I`ISSOURI
MICHAEL C. ZIMMER, D.C., P.C., individually and v
on behalf'of all others similarly-situated, Cause No. 1§\: 21 - §§ §§ Ol“~l l ci
Piatmirr, Divisi<m 7

V.

 

lNTEGRATED PAIN MANAGEMENT, S.C.,

Defendant

 

 

MOTION FOR CLASS CERTIFICATION l
COMES NOW Plaintiff`, individually and on behalf of all others similarly situated, by

and through'its undersigned counsel, and for its l\/Iotion for Class Certification, states

 

l. This cause should be certitied as a class because all of` the necessary elements of
Rule 52.08 are met.

2. Plaintiff requests that the Court certify a class, so the common claims of the Class
l. Recent developments in class action practice make necessary the filing of this motion

with the petition. Defendants in class litigation have resorted to making individual settlement
offers to named plaintiffs before a class action is certified in an attempt to “pick»off" the putative
class representative and thereby detail the class action litigation Most courts have rejected these
pickaon attempts and have heid that the filing of a motion for class certification with the initial
petition or within a number of days after service of any settlement offer to a named plaintiff
staves off offers of judgment to the named plaintiff Any settlement offer made after the filing of
the motion for class certification must be made on a class-Wide basis. See Alpern v. UtiliCorp
United, 84 F.3d 1525 (Sth Cir. 1996); Weiss v. Regal Collectz'ons, 385 F. 3d 337, 344 n. 12 (3d
Cir. 2004); see Jcmcik v. Cavalry Por(folio Se)'vs., 2007 WL `1994026, at *2-3 (D. Minn. July 3,
2007) Harris v. Messe)‘lz' & Kramer, P.A., 2008 WL 508923, at *2-3 (D. Min_n. Jan. 2, 2008)
(saine); Johrzson v. U,S. ,Bank Nat ’l Assn., 276 F.R.D. 330, 333-335 (D. i\/iinn. 2011) (same). See
also Lucero v. Bw‘eau of Collectz'on Recovery, [nc,, 639 F.3d 1239, l249 (l()th Cir. 20l l); Mey
v. il/Iom`!)‘om'cs In!’l, lnc., 20l2 WL 983766, at * 4-5 (N,D. W.Va. Mar. 22, 2012); Hrivnak v.
NCO Porrfolz`o Mgml., lnc., 723 F.Supp.Zd 1020, 1029 (N.D. Ohio 20l0); .McDr)wa// v. Cogcm,
216 F.R.D. 46, 48-50(1§.3). N.Y. 2003).

2.

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members, based on a uniform legal theory and factual allegations applicable to all Class
members, can be resolved on a class-wide basis.

3. Plaintiff proposes the following Class definition:

All persons who on or after four years prior to the filing of this action, were
sent telephone facsimile messages of material advertising medical and
treatment services by or on behalf of Defendants.

 

4. Under Rule 52.08(a)(l), to bring a Class action, the Class must be “so numerous
that joinder of all members is impracticable.” Rule 52.08(a)(l). Here, there are at least hundreds
of persons who fall within the Class definition Thus, the numerosity requirement of Rule
52.08(a)(l) is satisfied

5. There are questions of law or fact common to the Class members.

6. The claims or defenses of the representative parties are typical of the claims or
defenses of this Class.

7. Plaintiff and its counsel will fairly and adequately protect the interest of the Class.

8. Common issues of law or fact predominate over any individual issues, and a class
action is the superior method for the fair and efficient adjudication of this controversy

9. The prosecution of separate actions by individual members of the class would
create a risk of inconsistent or varying adjudications which would establish incompatible
standards of conduct for the party opposing the class.

10. The prosecution of separate actions by individual members of the class would
create a risk of adjudications with respect to individual members of the class which would as a
practical matter be dispositive of the interests of the other members not parties to the
adjudications or substantially impair or impede their ability to protect their interests.

ll. Plaintiff requests additional time to file its supporting Memorandum of LaW after

the Court sets up an appropriate discovery schedule. Written discovery related to class

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certification issues is presently outstanding

WHEREFORE, Plaintiff prays that this Court certify this case as a class action, grant
statutory injunctive relief prohibiting Defendants from sending advertising materials via fax to
members of the class, and further pray that the Court appoint Plaintiff as Class Representative,

appoint Plaintiff’s attorneys Class Counsel; that this Court allow Plaintiff additional time, for

 

completion of discovery related to class certification issues, to file its Memorandum of Law in
Support of this Motion; and for such other and fin'ther relief as the Court deems appropriate
under the circumstances

Respectfully submitted,

aaa M'

Max G. Marguiis, ¥¢'24325

MARGULIS LAW GROUP

28 Old Belle Monte Rd.

Chesterfield, MO 63017

P: (636) 536-7022

F: (636) 536-6652

E-Mail: MaxMargulis@MargulisLaw.com

Of Counsel

Brian J. Wanca

ANDERSON + WANCA

3701 Algonquin Road, Suite 760
Rolling Meadows, IL 60008

P: (847) 368-1500

CERTIFICATE OF SERVICE

l hereby certify that a copy of the foregoing was served on the Defendant lntegrated Pain
Management, S.C. by the process server at the same time as the petition.

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